       Case 2:20-cv-11181-CAS-JPR Document 32 Filed 05/27/21 Page 1 of 1 Page ID #:260


Chan Yong Jeong, Esq.
Jeong and Likens, Law Corp.
222 South Oxford Avenue, Los Angeles, CA 90004
Tel. 213-688-2001


                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER:
NEMAN BROTHERS & ASSOC., INC., a California
Corporation;
                                                                          2:20-cv-11181 CAS (JPRx)
                                                         Plaintiff(s)
                                v.

INTERFOCUS, INC. d.b.a. www.patpat.com, a
Delaware Corporation; CAN WANG; an individual;                                   STIPULATION REGARDING
and DOES 1-10, inclusive,                                                     SELECTION OF PANEL MEDIATOR
                                                      Defendant(s).


CHECK ONLY ONE BOX:

  ✔     The parties stipulate that             Ms. Gail Title, Esq.             may serve as the Panel
        Mediator in the above-captioned case.           Chan Yong Jeong, Esq.           has contacted
                                                                   (Print Name)
        the Panel Mediator and obtained the Panel Mediator's consent to serve on a pro bono basis for
        three (3)hours. All parties and the Panel Mediator have agreed that the mediation will be held
        on          TBD            and counsel will submit mediation statements seven (7) calendar days
                    (Date)
        before the session.
        The parties request that the ADR Program staff assign to the above-captioned case a Panel
        Mediator with expertise in the following area of law :

      Dated: 5/27/2021                                            /s/ Chan Yong Jeong, Esq.
                                                                 Attorney For Plaintiff Neman Brothers


      Dated:
                                                                 Attorney For Plaintiff


      Dated: 5/27/2021                                            /s/ Mark Lee, Esq.
                                                                 Attorney For Defendant Interfocus and Can Wang


      Dated:
                                                                 Attorney For Defendant

   Attorney for Plaintiff to electronically file original document.


 ADR-02 (08/16)                        STIPULATION REGARDING SELECTION OF PANEL MEDIATOR
